Case 3:06-cr-30142-MJR               Document 71 Filed 04/11/07             Page 1 of 10       Page ID
                                               #219



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )
                        vs.                     )        Case No. 06-cr-30142-MJR
                                                )
RONNIE LAUDERDALE, et al.,                      )
                                                )
                        Defendant.              )

                                     MEMORANDUM & ORDER

REAGAN, District Judge:


                On March 30, 2007, this Court held a hearing on defendant Ronnie Lauderdale’s motion

to dismiss indictment (Doc. 55). At that hearing, the Court allowed Defendant and the Government to

present oral argument on the issue of whether Lauderdale’s statutory right to a speedy trial had been

violated. The Court found that those rights had been violated and issued an Order dismissing the

indictment against Defendant and ordering Defendant’s immediate release from custody (see Doc. 69).

At that time, this Court informed the parties that it would take under advisement the issue of whether the

dismissal shall be with or without prejudice, and permitted Defendant to file a reply to the Government’s

response to his motion to dismiss (see Doc. 67). Defendant has done so (see Doc. 70).

                Having considered the oral arguments presented by the parties at the March 30, 2007

hearing and having carefully reviewed the written record of this matter including the parties’ briefs, the

Court now ORDERS that the dismissal of the indictment shall be without prejudice, for the reasons set

forth below.

                18 U.S.C. § 3161 grants a criminal defendant a statutory right to a speedy trial. In

particular, section 3161(c)(1) mandates that “the trial of a defendant charged with the commission of an


                                                    1
Case 3:06-cr-30142-MJR            Document 71 Filed 04/11/07             Page 2 of 10       Page ID
                                            #220



offense shall commence within 70 days from the filing date (and making public) of the information or

indictment, or from the date the defendant has appeared before a judicial officer of the court in which

such charge is pending, whichever date occurs last.” 18 U.S.C. § 3161(c)(1).

               When a violation of 18 U.S.C. § 3161(c) is found to have occurred (as was the case

in the present matter) 18 U.S.C. § 3162(a)(2) mandates that the cause of action be dismissed upon

motion of the defendant. As mentioned, this Court has done so (see Doc. 69) and now turns to the

question of whether the dismissal shall be with or without prejudice.

                Section 3162(a)(2) governs the considerations to be weighed in determining whether

a case should be dismissed with or without prejudice when a violation of § 3161(c) has occurred:

               In determining whether to dismiss the case with or without prejudice, the
               court shall consider, among others, each of the following factors: the
               seriousness of the offense; the facts and circumstances of the case which led
               to the dismissal; and the impact of a reprosecution on the administration of
               this chapter and on the administration of justice.

18 U.S.C. § 3162(a)(2).

               The Supreme Court has noted that “Congress did not intend any particular type of

dismissal to serve as the presumptive remedy for a Speedy Trial Act violation.” United States v.

Taylor, 487 U.S. 326, 334 (1988). “The decision to dismiss with or without prejudice [has been]

left to the guided discretion of the district court, and ... neither remedy [has been] given priority.”

Id. at 335. Nonetheless, district courts have been “specifically and clearly instructed” to consider

the factors set forth in 18 U.S.C. § 3162(a). Id. at 336. Accordingly, the Court now considers each

of those factors in making its determination.

       Seriousness of the Offense

               The offense Defendant is charged with in this matter, violation of the Controlled


                                                  2
Case 3:06-cr-30142-MJR           Document 71 Filed 04/11/07             Page 3 of 10      Page ID
                                           #221



Substances Import and Export Act, is serious and Defendant concedes as much (see Doc. 55, p. 3).

Defendant himself approximates that he would be facing a sentence “between 15 and 60 years” if

convicted of the charged offense. Id. In fact, the violation that Defendant is charged with is

punishable by a term of imprisonment of not less than ten years and not more than his natural life.

See 21 U.S.C. § 841(b)(1)(A).

               Further, the Seventh Circuit has indicated that the possession of large amounts of

cocaine is a serious offense within the context of § 3162(a)(2). See United States v. Arango, 879

F.2d 1501, 1508 (7th Cir. 1989)(delay of three months not per se substantial enough to justify

dismissing charges with prejudice); see also, United States v. Regilio, 669 F.2d 1169 (7th Cir.

1982)(noting strong public interest in prosecuting drug dealers). This being the case, it is

notable that Defendant’s alleged conduct in the present matter is substantially more egregious than

mere possession. Here, the Government alleges that Defendant made a post-arrest statement

admitting not only that he possessed a substantial amount of cocaine – twenty kilograms – but that

he in fact delivered those twenty kilograms of cocaine to one of his co-defendants the day before his

arrest (see Doc. 1, ¶ 19; Doc. 67, Ex. A). In addition, Defendant admitted that he also had made two

previous deliveries – ten kilograms of cocaine each – to the same co-defendant. Id.

               In light of these allegations, it is clear that the conduct Defendant is charged with

goes well beyond “serious.” Defendant did not merely possess a substantial amount of cocaine;

Defendant appears to have been directly responsible for supplying the drug trade in this region with

at least thirty-two kilograms – over half a million dollars worth – of cocaine. Id. Accordingly, the

Court finds that the seriousness of the offense weighs heavily in favor of dismissal without

prejudice.


                                                 3
Case 3:06-cr-30142-MJR            Document 71 Filed 04/11/07               Page 4 of 10       Page ID
                                            #222



          Facts and Circumstances Underlying Dismissal

                As mentioned in this Court’s previous Order (see Doc.69), on October 19, 2006, the

Government filed an indictment against Defendant (see Doc. 27). The violation of Defendant’s Speedy

Trial rights occurred because an arraignment on the indictment was not thereafter held until January 9,

2007 (see Doc. 37), a total of 82 days after the filing of the indictment, in violation of the 70-day

limitation contained in 18 U.S.C. § 3161(c).

                Defendant argues that he “did no act which occasioned any delay” resulting in the

speedy trial violation (see Doc. 55, p. 3). The Court agrees. The delay in this matter resulted from

the fact that Defendant’s arraignment was not timely scheduled; Defendant had no control over this

factor.

                The Government, on its part, argues that it has not intentionally sought any delay in

this matter and places blame, in part, upon the Court for failing to automatically set a trial date after

the Government filed its indictment – such failure purportedly being a violation of 18 U.S.C. §

3161(a), and for purportedly failing to respond to the Government’s telephonic message left with

the Court requesting an arraignment.

                Section 3161(a) provides, in relevant part: “the appropriate judicial officer, at the

earliest practicable time, shall, after consultation with [counsel for both parties] set [the case for

trial] ...” 18 U.S.C. § 3161(a). In its brief, after quoting this language, the Government states: “since

no trial date was ever set in this case, 18 U.S.C. § 3161(a) has been violated” (Doc. 67, p. 5).

Implicit in the Government’s argument on this point is the assumption that the Court was

responsible for a violation of § 3161(a) (if such a violation indeed occurred) for failing to set this

matter for trial upon the filing of the indictment. The Court rejects that assumption.



                                                   4
Case 3:06-cr-30142-MJR             Document 71 Filed 04/11/07               Page 5 of 10       Page ID
                                             #223



                Section 3161(a) states that “the appropriate judicial officer” shall set a matter for

trial, at the “earliest practicable time ... after consultation with the counsel for the defendant and the

attorney for the Government.” According to the specific language of the statute, therefore, it seems

clear that the Court’s responsibility to set a matter for trial follows consultation with the parties. The

statute is unclear, however, as to when such “consultation” must occur and as to who bears the

responsibility of initiating such “consultation.”

                 The Government’s understanding of the “after consultation” phrase apparently is

that the Court bears the responsibility, immediately after an indictment is filed, to somehow track

down and contact the Government attorney on the matter, as well as each attorney for each

Defendant and then, “after consultation” with them, set the matter for trial. The Court disagrees with

that interpretation.

                The language of the Speedy Trial Act itself, the history of the Act, as well as

principles of efficiency and common sense all indicate that, in the present context, the time for

“consultation” to occur and after which a trial shall be set at “the earliest practicable time,” is not

the filing of an indictment, but rather the arraignment of a Defendant.

                In this matter, the Court followed its usual practice; it did not automatically set this

matter for trial upon the filing of the indictment, but rather waited to do so until after the

Defendant’s arraignment. This is the regular and continuous practice of this Court for several

reasons, not the least of which the Government itself has pointed out – the history of the Speedy

Trial Act contemplates the Government bearing the responsibility to inform the Court when a

criminal matter is ready to be set for trial; a Court should not be required to automatically set a

matter for trial upon the filing of an indictment:


                                                     5
Case 3:06-cr-30142-MJR             Document 71 Filed 04/11/07                  Page 6 of 10        Page ID
                                             #224



                [a]t [arraignment], the defendant is required to plead to the charge contained
                in an information or indictment ... it would be a waste of judicial resources
                to require the courts to schedule trials at the time of the filing of an
                indictment, due to the possibility that the defendant may choose to plead
                either guilty or nolo contendere, thus making trial unnecessary.

H.R. Rep. 93-1508, 1974 U.S.C.C.A.N. 7401, 7422 (1974); see also United States v. Nixon, 779

F.2d 126, 130 (2nd Cir. 1985)(referencing the same).

                In making these observations, this Court is not offering its own interpretation of §

3161(a), nor is it in any way determining whether a violation of § 3161(a) did or did not occur in

this matter. As the Court noted in its previous Order (Doc. 69), neither party disputes that a

violation of § 3161(c) occurred. Id. That fact alone was enough to warrant dismissal, and it is

therefore relatively irrelevant whether a violation of § 3161(a) also occurred. The Court merely is

pointing out that if § 3161(a) was violated, it likely was not the result of the Court failing to set this

matter for trial automatically upon the filing of the indictment, as the Government seems to assert.

                Moreover, the Court further rejects the Government’s argument that this Court should

share the blame for the violation of § 3161(c). Regarding that violation, counsel for the Government

asserts that he made a phone call to, and left a voice message with, the chambers of Magistrate Judge

Donald G. Wilkerson sometime “during December, 2006,” requesting that an arraignment be set in

this matter (see Doc. 67, p. 3). For the reasons set forth below, such a phone call would not have

shifted the blame for the violation of § 3161(c) from the Government to the Court.

                For the past twelve years, this Court has adhered to the provisions of a document the

Government itself has cited in its brief on this issue, the “District Court Plan for the Disposition of

Criminal Cases in the Southern District of Illinois” (“Plan”).1 In Section II, ¶ 6(e)(4) of the Plan,


        1
                The Plan was adopted by this Court in Administrative Order Number 97 of February 1, 1995.

                                                     6
Case 3:06-cr-30142-MJR           Document 71 Filed 04/11/07             Page 7 of 10      Page ID
                                           #225



entitled “Post-Indictment Procedures,” the Plan states: “in an effort to ensure proper measurement

of the 70 day time limit within which trial must commence ... the United States Attorney shall notify

the Court in writing on the date, by his or her calculation, that there are 25 days remaining within

which to commence trial” (emphasis added).

               This rule reflects the long-held sentiment that the ultimate responsibility to ensure

the prosecution of individuals is done legally and in a way that does not violate their rights should

rest on the shoulders of those doing the prosecuting. Indeed, if the Court were to step in and alert

the Government whenever it was on the brink of a Speedy Trial Act violation, there would be little

purpose for prescribing sanctions in the Act itself. Most important, if this Court were to aid the

prosecution in such a manner, it would be injecting itself into the matter and compromising its

neutrality.

               As the Government points out, the 70-day Speedy Trial Clock in this matter ran on

December 28, 2006. This being the case, the Government should have informed this Court on

December 3, 2006, in writing, that an arraignment had not been scheduled and no trial had been set.

By failing to do so, the Government violated the safeguard provisions of § II (6)(e)(4) of the Plan,

regardless of whether the Government left a telephonic message with Judge Wilkerson’s chambers

sometime “during December, 2006” (see Doc. 67, p. 3).

               For all these reasons, the Court rejects the Government’s argument that this Court

is responsible for the violation of § 3161(c) that occurred in this matter. The Government bears the

ultimate responsibility of ensuring that an individual it indicts receives a speedy trial. The

Government is not excused from this responsibility simply by leaving a telephonic message with the

Court on the eve of the Speedy Trial clock expiration. In addition to being ineffective to shift the


                                                 7
Case 3:06-cr-30142-MJR            Document 71 Filed 04/11/07              Page 8 of 10       Page ID
                                            #226



blame to the Court, as counsel for Defendant argued at the hearing on this matter, such a phone-call

was quite possibly the absolute least effective means of ensuring Defendant’s Speedy Trial rights

were not violated.

               The Court is aware that counsel for the Government in this matter recently committed

the same error regarding a defendant’s Speedy Trial rights as to each defendant in this matter, as

well as to a defendant in a wholly separate case, United States v. Killingsworth, 06-CR-30140-GPM.

Nonetheless, the Court finds that each of those violations occurred within nearly the exact same time

frame and are not necessarily indicative of any pattern of neglect by the Government. Further,

having fully considered the entire record of this matter and the events leading up to this dismissal,

the Court is satisfied that the Government, while neglectful, has not acted willfully or in bad faith

in allowing Defendant’s Speedy Trial rights to be violated.

               In addition, it is relevant (although not dispositive) that Defendant himself has

continued this matter (see Doc. 41) and did not bring this issue to this Court’s attention until the eve

of trial. See Barker v. Wingo, 407 U.S. 514, 531 (1972)(where a defendant does not assert his

right to a speedy trial until the time permitted under the Speedy Trial Act had already

expired, “it makes it difficult for [the] defendant to assert that he was denied a speedy trial.”);

see also, United States v. Deleon, 710 F.2d 1218 (7th Cir. 1983)(assertion of right to speedy trial

after delay does not weight heavily, if at all, in defendant’s favor). In light of all the above facts,

the Court FINDS that, on balance, the circumstances leading to dismissal weigh neither in favor of

dismissal with prejudice nor in favor of dismissal without prejudice.




                                                   8
Case 3:06-cr-30142-MJR            Document 71 Filed 04/11/07             Page 9 of 10       Page ID
                                            #227



       The Impact of a Reprosecution on the Administration of the Speedy Trial Act and On the

       Administration of Justice

               Turning finally to the impact of a reprosecution of this matter on the administration

of the Speedy Trial Act and on the administration of justice, the Court notes that dismissal without

prejudice is “not a completely negligible sanction, viewed from a deterrent standpoint, since the

grand jury may refuse to reindict and since even if it does the defendant may be acquitted.” United

States v. Janik, 723 F.2d 537, 543 (7th Cir. 1983). Indeed, a dismissal without prejudice “forces

the Government to obtain a new indictment if it decides to reprosecute, and it exposes the

prosecution to dismissal on statute of limitations ground.” Taylor, 487 U.S. at 342. As such,

dismissal without prejudice can hardly be considered a “toothless sanction.” Id.

               In addition, as this Court has already noted, Defendant has been charged with very

serious conduct – not merely possessing a substantial amount of cocaine, but having personally

fueled the drug trade in this region by distributing over half-a-million dollars worth of cocaine.

Moreover, the record indicates that Defendant has several prior convictions for drug-related offenses

(see Doc. 66). In light of these facts, a dismissal of this matter with prejudice clearly would not

serve the public interest of protecting our society from drug crime.

               While the Court finds that a dismissal of this matter with prejudice would certainly

be a much stronger sanction against the Government for having violated Defendant’s Speedy Trial

rights, the danger to the public of setting free someone who is allegedly a major player in the cocaine

trade in this region militates strongly against such a course of action. On balance then, the Court

FINDS that this factor weighs in favor of dismissal without prejudice.




                                                  9
Case 3:06-cr-30142-MJR          Document 71 Filed 04/11/07             Page 10 of 10       Page ID
                                           #228




III.   Conclusion

               Having carefully weighed each factor this Court is required to consider under §

3162(a)(2), the Court finds that the “seriousness of the offense” and the “impact of a reprosecution”

weigh heavily in favor of dismissal without prejudice, whereas the “circumstances leading up the

dismissal,” weigh neither for nor against dismissal without prejudice. Accordingly, for the reasons

stated on the record of the March 2007 hearing, as well as those stated herein, the Court ORDERS

that the dismissal ordered on March 30, 2007 (see Doc. 69) is without prejudice.

               IT IS SO ORDERED.

               DATED this 11th day of April, 2007.

                                                              s/Michael J. Reagan
                                                              MICHAEL J. REAGAN
                                                              United States District Judge




                                                 10
